           Case 1:21-vv-00965-UNJ Document 51 Filed 03/01/24 Page 1 of 5




  In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-0965V



 ANDERA SMITH,                                               Chief Special Master Corcoran

                         Petitioner,                         Filed: January 30, 2024
 v.

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                        Respondent.


Jeffrey S. Pop, Jeffrey S. Pop & Associates, Beverly Hills, CA, for Petitioner.

Nina Ren, U.S. Department of Justice, Washington, DC, for Respondent.


                                DECISION AWARDING DAMAGES1

      On February 19, 2021, Andera Smith filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to vaccine
administration (“SIRVA”) as a result of a tetanus-diphtheria-acellular pertussis (“Tdap”)
vaccination she received on December 28, 2020. Petition at 1. The case was assigned to
the Special Processing Unit of the Office of Special Masters.

      On July 28, 2023, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for SIRVA. On January 29, 2024, Respondent filed a proffer on award of
compensation (“Proffer”) indicating Petitioner should be awarded $152,778.61
(comprised of $150,000.00 in pain and suffering and $2,778.61 in past unreimbursable
expenses). Proffer at 1-2. In the Proffer, Respondent represented that Petitioner agrees

1 Because this Decision contains a reasoned explanation for the action taken in this case, it must be made

publicly accessible and will be posted on the United States Court of Federal Claims' website, and/or
at https://www.govinfo.gov/app/collection/uscourts/national/cofc, in accordance with the E-Government
Act of 2002. 44 U.S.C. § 3501 note (2018) (Federal Management and Promotion of Electronic Government
Services). This means the Decision will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I
agree that the identified material fits within this definition, I will redact such material from public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease

of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2018).
          Case 1:21-vv-00965-UNJ Document 51 Filed 03/01/24 Page 2 of 5



with the proffered award. Id. Based on the record as a whole, I find that Petitioner is
entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $152,778.61 (comprised of $150,000.00 in pain and suffering and
$2,778.61 in past unreimbursable expenses) in the form of a check payable to
Petitioner. This amount represents compensation for all damages that would be available
under Section 15(a).

       The Clerk of Court is directed to enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


                                                    2
         Case 1:21-vv-00965-UNJ Document 51 Filed 03/01/24 Page 3 of 5




               IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                         OFFICE OF SPECIAL MASTERS


 ANDERA SMITH,

                Petitioner,                           No. 21-965V
                                                      Chief Special Master Corcoran
 v.                                                   ECF

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                Respondent.


            RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On February 19, 2021, Andera Smith (“petitioner”) filed a petition for compensation

under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34

(“Vaccine Act” or “Act”), alleging that she suffered a Table shoulder injury related to vaccine

administration (“SIRVA”), as the result of the tetanus-diphtheria-acellular pertussis (“Tdap”)

vaccination that she received on December 28, 2020. Petition at 1. On July 26, 2023, the

Secretary of Health and Human Services (“respondent”) filed a Rule 4(c) Report indicating that

this case is appropriate for compensation under the terms of the Act for a SIRVA Table injury,

and on July 28, 2023, the Chief Special Master issued a Ruling on Entitlement finding petitioner

entitled to compensation. ECF No. 35; ECF No. 36.

I.     Items of Compensation

       A.      Pain and Suffering

       Respondent proffers that petitioner should be awarded $150,000.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.
          Case 1:21-vv-00965-UNJ Document 51 Filed 03/01/24 Page 4 of 5




       B.      Past Unreimbursable Expenses

       Evidence supplied by petitioner documents that she incurred past unreimbursable

expenses related to her vaccine-related injury. Respondent proffers that petitioner should be

awarded past unreimbursable expenses in the amount of $2,778.61. See 42 U.S.C. § 300aa-

15(a)(1)(B). Petitioner agrees.

       These amounts represent all elements of compensation to which petitioner is entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following1: a lump sum payment of $152,778.61, in the form of

a check payable to petitioner.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Andera Smith:                                 $152,778.61

                                                      Respectfully submitted,

                                                      BRIAN M. BOYNTON
                                                      Principal Deputy Assistant Attorney General

                                                      C. SALVATORE D’ALESSIO
                                                      Director
                                                      Torts Branch, Civil Division

                                                      HEATHER L. PEARLMAN
                                                      Deputy Director
                                                      Torts Branch, Civil Division


1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                 2
         Case 1:21-vv-00965-UNJ Document 51 Filed 03/01/24 Page 5 of 5




                                           JULIA M. COLLISON
                                           Assistant Director
                                           Torts Branch, Civil Division

                                           /s/ NINA Y. REN
                                           NINA Y. REN
                                           Trial Attorney
                                           Torts Branch, Civil Division
                                           U.S. Department of Justice
                                           P.O. Box 146
                                           Benjamin Franklin Station
                                           Washington D.C. 20044-0146
                                           (202) 451-7499
                                           Nina.Ren@usdoj.gov


Date: January 29, 2024




                                       3
